                                               Case 1:23-cv-00531-SE-AJ Document 1-1 Filed 12/01/23 Page 1 of 1
         JS44 (Rc\ 04 211                                                                        CIVIL COVER SHEET
         The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law. except as
         provided h\ local rules ofcourt This fonn. approved by the Judicial Conference of the United States in September 1974. is required for the use of the Clerk of Court for the
         purpose of initiating the civil docket sheet    l.\’SIRI'<l/u\’SO\ \l.\/ I'.uU'ni- I'HISI-ORM.i
         I. (a) PLAINTIFFS                                                                                                                  DEFENDANTS
                                                                                                                                            SECRETARY OF STATE DAVID SCANLAN and DONALD
                       JOHN ANTHONY CASTRO
                                                                                                                                            JOHN TRUMP
           (b) County of Kesidence of first Listed Plaintiff                          Tarrant CountV. TX                                     County of Residence of l-irsl Listed Defendant           Merrimack CountV. NH
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                      2023 DEC 1pm12:45
               (c)     Attorneys r/- inn Aoinv, AiUlrcss. ami le/ephonc RnmhiT)                                                              Attorneys C/ Kinnmi


                        Pro Se

         II.       BASIS OFJl!RISDICTIONr/'/«aM//;-.rmo,«-/iavo„/u                                                         III. CITIZENSHIP OF PRINCIPAlv PARTIES /I’hicc an ".V in One Hox /or I’lainiill
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                     REAL PROPER I V                      CIVIL RIGHTS                       PRISONER PETITIONS                  3 790 Other Labor I tigaluni                                                               891 Agncuiiiiral Acts
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               210 Land Condcmnaiion              _ 440 Ollier Civil Righls                    Habeas ('or|iiis:                 _ 791 F.mployee Reiiremeiii                                                                893 Enviromiienial Mailers
               220 Foreclosure                    _ 441 Voting                                 463 .Alien Delamee                      Income Secuiilv Aci                   FEDERAL TAX SUITS                              895 F'rcedom of Infomialion

         _ 230 Rem Lease A I jeeimeni             __ 442 fimpioyiiicm                          510 Motions lo Vaeale                                                     □ 870 Tavcsa'.S. PlaimilT                               Act
           241) Foils lo Land                     _ 443 Housing'                                    Scnicnce                                                                   or Dcfcudanll                                896 Arbitniiion
         _ 245 fort Product I iabiliiy                  Accoiiunodalioiis                      530 General                                                               ^ 871 IRS - IhirdPany                              899 Admimsiralive Procedure

         3] 290 All Other Real Piopeiiy           ^ 445 Amer. w'Disabilities -                 535 Dcaili Penaliv                          immicratISn                          26 USC 7609                                     Acl'Rcvicw or Appeal of
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                                                         U.S. Const, amend. XIV, § 3
         M. C AI SEOI ACTION
                                                         Brief description of cause
                                                         Plaintiff is experiencing a polilica! competitive injury traceable to a constitutionally disqualified individual who aided and comforted an insurrection.
         VII. REOIIFSTED in                              U CIITCK IF TIil.S IS A CLASS .\CTION                                       DKMANDS                                                Cl ILCK ^'[iS only ifdemandcd in complaint:
              COMPLAINT:                                   I. ^NDliR RUl.L 2.3. F R Cv.i>                                            0                                                      ,IlTn DECMAND:          □ Ycs [x]No
         VIII. REl.ATED CASE(S)
               IF ANY                                         iSee in\n iici.iiii\)
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         DA IF'                                                                                SIGN \II RF. OF \ i I'-RNFVOF RFC'ORD
         Nov 30,2023                                                                           /s/ John Anthony Casuo
         FOROFFK K I SF. OM.A

            RLCFIPF-                            A.MOUNT                                             APPl 31\G 11 F                                          Jl DGl                                      M.AG. JUDGE




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